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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION


  DANCO, INC.,

        Plaintiff,

  v.                                                  Civil Action No.:
                                                      5:16-CV-00073-JRG-CMC
                                                      _____________________

  FLUIDMASTER, INC.,                                  JURY TRIAL DEMANDED

        Defendant.


               FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff Danco, Inc. (“Danco”), by and through its undersigned attorneys, files this

  Complaint for Patent Infringement against Defendant Fluidmaster, Inc. (“Fluidmaster” or

  “Defendant”), and in support thereof alleges as follows:

                               NATURE AND BASIS OF THE ACTION

         1.      This is an action for patent infringement under the patent laws of the United

  States, 35 U.S.C. § 1 et seq.

         2.      Plaintiff Danco is one of the largest plumbing repair, replacement, and remodel

  suppliers in the home improvement industry. Danco offers for sale its innovative plumbing

  solutions through various nationwide retailers, such as Home Depot and Lowe’s.

         3.          Danco’s innovative plumbing solutions include a number of inventions related to

  novel toilet fill valves and flush valves, including dual-flush converters that quickly and easily

  convert a standard toilet into a water-saving dual flush toilet. These inventions include, but are
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  not limited to, the dual flush designs disclosed in U.S. Patent No. 8,943,620 (“the ’620 Patent”)

  and U.S. Patent No. 9,181,687 (“the ’687 patent”).

         4.      Defendant Fluidmaster is a manufacturer of toilet repair parts for the do-it-

  yourself and professional plumbing industry and is a direct competitor of Danco.

         5.      Fluidmaster currently makes, uses, offers for sale and sells a number of dual flush

  converters, including at least the DUO FLUSH valve and system dual flush products (“DUO

  FLUSH”). The Fluidmaster DUO FLUSH is offered for sale and sold through various

  nationwide retailers, such as such as Home Depot and Lowe’s.

         6.      By making, using, offering for sale, selling, or importing the Fluidmaster DUO

  FLUSH, Fluidmaster is infringing one or more claims of the ’620 and ’687 Patents. Danco seeks

  a preliminary injunction, a permanent injunction, and monetary damages. Moreover, Danco

  respectfully submits that, upon information and belief, the present case is exceptional and Danco

  is entitled to enhanced damages and an award of its reasonable attorneys’ fees and costs.

                                           THE PARTIES

         7.      Plaintiff Danco, Inc. is a Delaware corporation having its principal place of

  business at 2727 Chemsearch Boulevard, Irving, Texas 75062.

         8.      Upon information and belief, Defendant Fluidmaster, Inc. is a California

  corporation having its principal place of business at 30800 Rancho Viejo Rd., San Juan

  Capistrano, California 92675. Upon further information and believe, Fluidmaster may be served

  by serving its Registered Agent, Stephen T. Dixon, at 30800 Rancho Viejo Rd., San Juan

  Capistrano, California 92675.




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                                     JURISDICTION AND VENUE

         9.      This is an action for patent infringement under the patent laws of the United

  States, 35 U.S.C. § 1 et seq.

         10.     This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. § 1331 and 1338(a) because this Complaint includes a cause of action for patent

  infringement under the patent laws of the United States, including, but not limited to, 35 U.S.C.

  §§ 271, 281, 283-285, and 287.

         11.     This Court has personal jurisdiction over Fluidmaster by virtue of the fact that

  Fluidmaster has transacted business in this District and Division, has derived substantial revenue

  from goods offered for sale and/or sold in this District and Division, and/or has established

  sufficient minimum contacts with Texas such that it is subject to the personal jurisdiction of this

  Court. Jurisdiction in Texas over Fluidmaster is also consistent with the requirements of due

  process.

         12.     Venue is proper in this district under 28 U.S.C. §§ 1391 and 1400(b).

                                     FACTUAL BACKGROUND

                                      Danco and Its Patent Rights

         13.     Danco invests a substantial amount of time and effort in the research and

  development of new and innovative products. Danco has developed a wide range of new and

  innovative plumbing products for toilets, including, for example, innovative fill valves, flush

  valves, and closet collar seals.




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         14.      Danco’s research and development staff invented a number of novel flush designs

  that allow any toilet to be converted to incorporate dual flush technology. Dual flush technology

  can help in water conservation efforts.

         15.      Danco has commercialized its patents with multiple lines of simple, easy to install

  dual flush converter systems, including the HydroRight Dual-Flush Converter.

         16.      Danco has obtained and owns one or more patents directed to its novel dual flush

  converters, including the ’620 and ’687 Patents.

         17.      On February 3, 2015, after a full and fair examination, the United States Patent

  and Trademark Office duly and legally issued the ’620 Patent, entitled “Adaptation of Flush

  Valve for Dual Flush Capability.” A true and correct copy of the ’620 Patent is attached hereto

  as Exhibit A.

         18.      On November 15, 2015, after a full and fair examination, the United States Patent

  and Trademark Office duly and legally issued the ’687 Patent, entitled “Adaption of Flush Valve

  for Dual Flush Capability.” A true and correct copy of the ’687 Patent is attached hereto as

  Exhibit B.

         19.      Danco is the owner by assignment of all right, title, and interest in the ’620 and

  ’687 Patents, including the right to sue for infringement thereof.

                                   Fluidmaster’s Infringing Products

         20.      Fluidmaster currently offers for sale and has sold a number of dual flush

  conversion kits and systems, including the Fluidmaster DUO FLUSH.

         21.      Fluidmaster’s DUO FLUSH is available through various nationwide retailers,

  such as such as Home Depot and Lowe’s. True and correct copies of web pages from the Home



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  Depot and Lowe’s websites showing Fluidmaster’s DUO FLUSH are attached hereto as Exhibit

  C.

          22.     Fluidmaster touts its DUO FLUSH as being important to water conservation

  efforts, stating that the systems offer substantial savings without sacrificing flushing

  performance. Fluidmaster also advertises that its system “Outperforms all other dual flush

  conversion valves.” A true and correct reproduction of Fluidmaster’s advertising materials for

  the DUO FLUSH is attached hereto as Exhibit D.

          23.     As discussed in more detail below, the Fluidmaster’s DUO FLUSH infringes one

  or more of at least claims 1, 2, 4, 11, 12, 20, 21, and 22 of the ’620 Patent and one or more of at

  least claims 1, 2, 3, 4, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, and 21 of the ’687 Patent.

          24.     Upon information and belief, Fluidmaster has purposefully, actively, and

  voluntarily offered for sale and sold its DUO FLUSH with the expectation that it would be

  purchased or used by consumers in Texas and elsewhere. By such acts, Fluidmaster has injured

  Danco and is thus liable to Danco for infringement of the ’620 and ’687 Patents pursuant to 35

  U.S.C. § 271.

                        COUNT I – INFRINGEMENT OF THE ‘620 PATENT

          25.     Danco incorporates and re-alleges the allegations contained in Paragraphs 1

  through 24 above as if fully set forth herein.

          26.     Fluidmaster has directly infringed and continues to infringe claims 1, 2, 4, 11, 12,

  20, 21, and 22 of the ’620 Patent in the United States in violation of 35 U.S.C. § 271(a) by

  making, using, offering for sale, selling, and/or importing dual flush conversion kits that are

  covered by the claims of the ’620 Patent. Specifically, Fluidmaster’s DUO FLUSH directly



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  infringes claims 1, 2, 4, 11, 12, and 20 of the ’620 Patent. In addition, Fluidmaster indirectly

  infringes claims 21 and 22 of the ‘620 by actively inducing, encouraging and materially

  contributing to infringement by its DUO FLUSH.

         27.     A preliminary claim chart showing infringement of claims 1, 2, 4, 11, 12, 20, 21,

  and 22 of the ’620 Patent by Fluidmaster’s DUO FLUSH is attached hereto as Exhibit E.

         28.     For example, a summary of the infringement of claim 1 of the ’620 Patent by the

  Fluidmaster’s DUO FLUSH is provided as follows:

                 i) Limitation 1: Fluidmaster’s DUO FLUSH includes a flush mechanism

                     configured to provide for a predefined flush capability in a toilet.

                 ii) Limitation 2: Fluidmaster’s DUO FLUSH includes a gasket detachably

                     attached to the flush mechanism, and the gasket forms a seal between the

                     flush mechanism and the flush orifice of a flush valve.

                 iii) Limitation 3: Fluidmaster’s DUO FLUSH maintains the seal during a full

                     flush of the toilet by the flush mechanism.

                 iv) Limitation 4: Fluidmaster’s DUO FLUSH includes a flush valve that is

                     configured to seat a sealing member.

         29.     Accordingly, Fluidmaster’s DUO FLUSH directly infringes at least claim 1 of the

  ’620 Patent in violation of 35 U.S.C. § 271(a).

         30.     Upon information and belief, Fluidmaster has also indirectly infringed and

  continues to infringe one or more claims of the ’620 Patent in the United States in violation of 35

  U.S.C. § 271(b) with the specific intent that the acts of “selling” by other retailers and “using” by

  consumers, which Fluidmaster induces, would infringe one or more claims of the ’620 Patent.



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         31.      As a result of Fluidmaster’s infringement of the ’620 Patent, Danco has been

  damaged, and will continue to be damaged, by Fluidmaster’s conduct. Danco is therefore

  entitled to such damages pursuant to 35 U.S.C. § 284 in an amount that presently cannot be

  ascertained, but that will be determined at trial.

         32.      Fluidmaster’s infringement of the ’620 Patent has injured and continues to injure

  Danco and will cause irreparable harm unless Fluidmaster is enjoined from infringing the claims

  of the ’620 Patent. Accordingly, Danco is entitled to temporary, preliminary, and/or permanent

  injunctive relief against Fluidmaster from further infringement pursuant to 35 U.S.C. § 283.

         33.      Upon information and belief, Fluidmaster’s past and continued infringement of

  the ’620 Patent has been deliberate and willful, and this case is therefore an exceptional case,

  which warrants an award of treble damages and attorneys’ fees to Danco pursuant to 35 U.S.C.

  §§ 284 & 285.

                       COUNT II – INFRINGEMENT OF THE ‘687 PATENT

         34.      Danco incorporates and re-alleges the allegations contained in Paragraphs 1

  through 33 above as if fully set forth herein.

         35.      Fluidmaster has directly infringed and continues to infringe claims 1, 2, 3, 4, 7, 8,

  9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, and 21 of the ’687 Patent in the United States in

  violation of 35 U.S.C. § 271(a) by making, using, offering for sale, selling, and/or importing dual

  flush conversion kits that are covered by the claims of the ’687 Patent. Specifically, the

  Fluidmaster’s DUO FLUSH directly infringes claims 1, 2, 3, 4, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16,

  17, 18, 19, 20, and 21 of the ’687 Patent.




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         36.     A preliminary claim chart showing infringement of claims 1, 2, 3, 4, 7, 8, 9, 10,

  11, 12, 13, 14, 15, 16, 17, 18, 19, 20, and 21 of the ’687 Patent by the Fluidmaster’s DUO

  FLUSH is attached hereto as Exhibit F.

         37.     For example, a summary of the infringement of claim 1 of the ’687 Patent by the

  Fluidmaster’s DUO FLUSH is provided as follows:

                 i) Limitation 1: Fluidmaster’s DUO FLUSH includes a flush opening configured

                     to mate to a basket structure of a dual flush canister for a toilet and the dual

                     flush canister is configured to provide both a short flush and a long flush of

                     the toilet.

                 ii) Limitation 2: Fluidmaster’s DUO FLUSH includes a flange configured to

                     mate to a flush valve opening of a flush valve previously installed in the toilet,

                     and the flange is offset at an angle with respect to the flush opening.

                 iii) Limitation 3: Fluidmaster’s DUO FLUSH includes a sealing material

                     configured to provide a seal between the flange and the flush valve opening.

                 iv) Limitation 4: Fluidmaster’s DUO FLUSH includes a mounting extension

                     extending beyond the flange and configured to mate with an inside surface of

                     the flush opening.

         38.     Accordingly, the Fluidmaster’s DUO FLUSH directly infringes at least claim 1 of

  the ’687 Patent in violation of 35 U.S.C. § 271(a).

         39.     Upon information and belief, Fluidmaster has also indirectly infringed and

  continues to infringe one or more claims of the ’687 Patent in the United States in violation of 35




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  U.S.C. § 271(b) with the specific intent that the acts of “selling” by other retailers and “using” by

  consumers, which Fluidmaster induces, would infringe one or more claims of the ’687 Patent.

         40.      As a result of Fluidmaster’s infringement of the ’687 Patent, Danco has been

  damaged, and will continue to be damaged, by Fluidmaster’s conduct. Danco is therefore

  entitled to such damages pursuant to 35 U.S.C. § 284 in an amount that presently cannot be

  ascertained, but that will be determined at trial.

         41.      Fluidmaster’s infringement of the ’687 Patent has injured and continues to injure

  Danco and will cause irreparable harm unless Fluidmaster is enjoined from infringing the claims

  of the ’687 Patent. Accordingly, Danco is entitled to temporary, preliminary, and/or permanent

  injunctive relief against Fluidmaster from further infringement pursuant to 35 U.S.C. § 283.

         42.      Upon information and belief, Fluidmaster’s past and continued infringement of

  the ’687 Patent has been deliberate and willful, and this case is therefore an exceptional case,

  which warrants an award of treble damages and attorneys’ fees to Danco pursuant to 35 U.S.C.

  §§ 284 & 285.

                                        PRAYER FOR RELIEF

         WHEREFORE, Danco prays that this Court enter judgment in favor of Danco and against

  Fluidmaster as follows:

         A.       Entry of judgment that Fluidmaster, Inc., has directly and indirectly

                  infringed the ’620 Patent pursuant to 35 U.S.C. § 271 (a) & (b);

         B.       Entry of judgment that Fluidmaster, Inc., has directly and indirectly

                  infringed the ’687 Patent pursuant to 35 U.S.C. § 271 (a) & (b);




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        C.    An order preliminarily and permanently enjoining Fluidmaster, Inc., and

              its respective agents, servants, officers, directors, employees, attorneys,

              affiliated companies, successors-in-interest, and all those in active concert

              or participation with it, and all other parties properly enjoined by law,

              from infringing directly or indirectly, inducing others to directly infringe,

              and/or contributing to the infringement of the claims of the ’620 Patent;

        D.    An order preliminarily and permanently enjoining Fluidmaster, Inc., and

              its respective agents, servants, officers, directors, employees, attorneys,

              affiliated companies, successors-in-interest, and all those in active concert

              or participation with it, and all other parties properly enjoined by law,

              from infringing directly or indirectly, inducing others to directly infringe,

              and/or contributing to the infringement of the claims of the ’687 Patent;

        E.    An order that Fluidmaster, Inc., be ordered to file with this Court, and to

              promptly serve on counsel for Danco, within twenty (20) days after entry

              of any injunction issued by the Court in this action, a sworn statement

              setting forth in detail the manner and form in which Fluidmaster has

              complied with the injunction;

        F.    An order that Fluidmaster, Inc., provide an accounting and pay to Danco

              damages in an amount adequate to compensate Danco for Fluidmaster’s

              infringement of the ’620 Patent, including damages for lost profits, but in

              no event less than a reasonable royalty, including up to treble damages for

              willful infringement pursuant to 35 U.S.C. § 284;



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         G.      An order that Fluidmaster, Inc., provide an accounting and pay to Danco

                 damages in an amount adequate to compensate Danco for Fluidmaster’s

                 infringement of the ’687 Patent, including damages for lost profits, but in

                 no event less than a reasonable royalty, including up to treble damages for

                 willful infringement pursuant to 35 U.S.C. § 284;

         H.      An order that this is an exceptional case under 35 U.S.C. § 285 meriting

                 that Danco be awarded its costs, including its reasonable attorneys’ fees

                 and other expenses incurred in connection with this action; and,

         I.      Any other relief that the Court finds legal, just and equitable, as may be

                 available under law or equity, and which the Court finds proper.

                                  DEMAND FOR TRIAL BY JURY

         Danco demands trial by jury of all issues so triable, pursuant to Rule 38 of the Federal Rules

  of Civil Procedure.


         This 30th day of November, 2016.

                                                Respectfully submitted,

                                                /s/ Eric G. Maurer_______________________

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